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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


MARCY ROUEGE                                  *         CIVIL ACTION NO. 2:19-cv-02357
                                              *
VERSUS                                        *         JUDGE BARRY W. ASHE
                                              *
BOURBON STREET MANAGEMENT,                    *         MAG. JUDGE KAREN WELLS ROBY
LLC, 516 ENTERPRISES, LLC,                    *
MADELINE SCHWARTZ AND KEVIN                   *
FILLOON                                       *




                  JOINT MOTION FOR DISMISSAL WITH PREJUDICE

       Plaintiff, Marcy Rouege, and Defendants, 241 Enterprises, LLC, Madeline Schwartz and

Kevin Filloon, through undersigned counsel, file this Joint Motion for Dismissal with Prejudice

and respectfully state as follows:

                                                   1.

       Plaintiff and Defendants move this Court for a Judgment and Order dismissing Plaintiff’s

claims against Defendants, with prejudice, because the controversies which led to the filing of this

matter have been resolved.

                                                   2.

       The parties have agreed to bear their own respective attorneys’ fees and costs incurred in

connection with this case.

       WHEREFORE, Plaintiff and Defendants respectfully request that this Court enter a

Judgment and Order dismissing Plaintiff’s claims against Defendants, with prejudice, with each

party bearing its own attorneys’ fees and costs.
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Date: November 18, 2019

                             Respectfully submitted,


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